Case 23-19865-JKS             Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                           Desc Main
                                      Document    Page 1 of 29


     KIRKLAND & ELLIS LLP                                       COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                         Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                                   Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)           Felice R. Yudkin, Esq.
     Steven N. Serajeddini, P.C. (admitted pro hac vice)        Ryan T. Jareck, Esq.
     Ciara Foster (admitted pro hac vice)                       Court Plaza North, 25 Main Street
     601 Lexington Avenue                                       Hackensack, New Jersey 07601
     New York, New York 10022                                   Telephone:      (201) 489-3000
     Telephone:      (212) 446-4800                             msirota@coleschotz.com
     Facsimile:      (212) 446-4900                             wusatine@coleschotz.com
     edward.sassower@kirkland.com                               fyudkin@coleschotz.com
     joshua.sussberg@kirkland.com                               rjareck@coleschotz.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com

     Co-Counsel for Debtors and                                 Co-Counsel for Debtors and
     Debtors in Possession                                      Debtors in Possession

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                          Chapter 11

 WEWORK INC., et al.,                                            Case No. 23-19865 (JKS)

                                      Debtors. 1                 (Jointly Administered)


                         NOTICE OF ASSUMPTION OF CERTAIN
                   EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

 PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
 CONTRACTS OR LEASES ON SCHEDULE 2 ATTACHED HERETO AND READ THE
 CONTENTS OF THIS NOTICE CAREFULLY.

           PLEASE TAKE NOTICE that on November 29, 2023, the United States Bankruptcy

 Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2


 1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
       place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
       chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR
       97005.
 2
       Capitalized terms used and not otherwise defined herein have the meanings given to them in the Motion or the
       First Day Declaration.
Case 23-19865-JKS          Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                         Desc Main
                                   Document    Page 2 of 29



 of debtors and debtors in possession (the “Debtors”), approving procedures for the rejection,

 assumption, or assumption and assignment of executory contracts and unexpired leases and

 granting related relief Docket No. 289 (the “Procedures Order”) attached hereto as Schedule 1.

          PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

 written notice (this “Assumption Notice”), the Debtors hereby notify you that they are seeking to

 assume, or assume and assign, as applicable, in the exercise of their business judgment, each

 Contract (including as amended outside of the ordinary course of business by mutual agreement

 of the parties to the Contract) set forth on Schedule 2 attached hereto effective as of the date

 (the “Assumption Date”) set forth in Schedule 2, or such other date as the Debtors and the

 counterparty or counterparties to any such Contract agree; provided, however, that no Contract

 shall be deemed assumed or assumed and assigned absent entry of an applicable Assumption

 Order.

          PLEASE TAKE FURTHER NOTICE that the Debtor or Assignee, as applicable, has

 the financial wherewithal to meet all future obligations under the Contract, which may be

 evidenced by the adequate assurance information, thereby demonstrating that the Debtor or

 Assignee, as applicable, has the ability to comply with the requirements of adequate assurance of

 future performance. 3

          PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 assumption or assumption and assignment (including as to the cure amount), as applicable, of any

 of the Contracts must file and serve a written objection so that such objection is filed with the

 Court on the docket of the Debtors’ chapter 11 and served on the following parties so that such


 3
     The Debtors will cause evidence of adequate assurance of future performance to be served with the Assumption
     Notice upon the Assumption Counterparties affected by the Assumption Notice (and their counsel, if known) by
     electronic mail.


                                                        2
Case 23-19865-JKS          Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                    Desc Main
                                   Document    Page 3 of 29



 objection is actually received by them no later than ten (10) days after the date that the Debtors

 filed and sent this Notice (via overnight mail and/or email): (i) the Debtors, WeWork Inc. c/o Epiq

 Restructuring,      LLC       10300     SW     Allen     Blvd.      Beaverton,        Oregon     97005

 (weworknotices@wework.com); (ii) co-counsel to the Debtors, (A) Kirkland & Ellis LLP,

 601 Lexington Avenue, New York, New York 10022, Attn.: Steven Serajeddini, P.C.

 (steven.serajeddini@kirkland.com), Ciara Foster (ciara.foster@kirkland.com), Oliver Paré

 (oliver.pare@kirkland.com), and Jimmy Ryan (jimmy.ryan@kirkland.com), and Kirkland & Ellis

 LLP,     300    North   LaSalle Street,    Chicago,    Illinois   60654,   Attn:       Connor Casas

 (connor.casas@kirkland.com), and (B) Cole Schotz P.C., Court Plaza North, 25 Main Street,

 Hackensack, New Jersey 07601, Attn.: Michael D. Sirota, Esq. (msirota@coleschotz.com),

 Warren     A.     Usatine,     Esq.   (wusatine@coleschotz.com),      Felice     R.    Yudkin,     Esq.

 (fyudkin@coleschotz.com), and Ryan T. Jareck, Esq. (rjareck@coleschotz.com); (iii) Office of

 The United States Trustee, One Newark Center, 1085 Raymond Boulevard, Suite 2100, Newark,

 New Jersey       07102,      Attn:    Fran Steele (Fran.B.Steele@usdoj.gov), Peter D’Auria

 (Peter.DAuria@usdoj.gov), and Rachel Wolf (Rachel.Wolf@usdoj.gov); (iv) counsel to the

 Committee, (A) Paul Hastings LLP, 200 Park Avenue, New York, NY 10166, Attn: Gabe Sasson

 (gabesasson@paulhastings.com) and Frank Merola (frankmerola@paulhastings.com) and (B)

 Riker Danzig LLP, 1 Speedwell Ave, Headquarters Plaza, Morristown, NJ 07962, Attn: Joseph

 Schwartz (jschwartz@riker.com) and Tara Schellhorn (tschellhorn@riker.com); (v) counsel to the

 Ad Hoc Group, (A) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New

 York 10017, Attn: Eli J. Vonnegut, Esq. (eli.vonnegut@davispolk.com), Natasha Tsiouris, Esq.

 (natasha.tsiouris@davispolk.com) and Jonah A. Peppiatt, Esq. (jonah.peppiatt@davispolk.com),

 and (B) Greenberg Traurig, LLP, 500 Campus Drive, Florham Park, New Jersey 10017, Attn: Alan



                                                  3
Case 23-19865-JKS             Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                               Desc Main
                                      Document    Page 4 of 29



 J. Brody, Esq. (BrodyA@gtlaw.com); (vi) counsel to SoftBank, (A) Weil, Gotshal & Manges LLP,

 767      Fifth    Avenue,      New      York,      New      York     10153,      Attn.:    Gabriel      A.    Morgan

 (gabriel.morgan@weil.com), Kevin H. Bostel (Kevin.Bostel@weil.com), and Eric L. Einhorn

 (Eric.Einhorn@weil.com), and (B) Wollmuth Maher & Deutsch LLP, 500 Fifth Avenue, New

 York, New York 10110, Attn.: Paul R. DeFilippo (pdefilippo@wmd-law.com), Steven S.

 Fitzgerald (sfitzgerald@wmd-law.com), James N. Lawlor (jlawlor@wmd-law.com), and Joseph

 F. Pacelli (jpacelli@wmd-law.com); and (vii) counsel to Cupar Grimmond, LLC, Cooley LLP, 55

 Hudson Yards, New York, NY 10001, Attn: Michael Klein (mklein@cooley.com) and Lauren A.

 Reichardt (lreichardt@cooley.com); provided that this Notice includes a proposed cure amount.

 Only those responses that are timely filed, served, and received will be considered at any hearing.

           PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

 assumption or assumption and assignment of each Contract shall become effective on such date as

 the Debtors and the Assumption Counterparty or Assumption Counterparties to such Contract

 agree or as otherwise ordered by the Court. 4

           PLEASE TAKE FURTHER NOTICE that the proposed cure amount under the Contract

 is set forth in Schedule 2 attached hereto. If a written objection to the proposed cure amount is

 not timely filed, then the cure amount shall be binding on all parties, and no amount in excess

 thereof shall be paid for cure purposes.

           PLEASE TAKE FURTHER NOTICE that, if an objection to the assumption of any

 Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing


 4
       An objection to the assumption of any particular Contract or cure amount listed in this Assumption Notice shall
       not constitute an objection to the assumption of any other contract or lease listed in this Assumption Notice. Any
       objection to the assumption of any particular Contract or cure amount listed in this Assumption Notice must state
       with specificity the Contract to which it is directed. For each particular Contract whose assumption is not timely
       or properly objected to, such assumption will be effective in accordance with this Assumption Notice and the
       Procedures Order.


                                                            4
Case 23-19865-JKS       Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                                Document    Page 5 of 29



 to consider the objection for the Contract or Contracts to which such objection relates and shall

 provide at least seven (7) days’ notice of such hearing to the applicable Assumption Counterparty

 and the other Objection Service Parties. If such objection is overruled or withdrawn, such Contract

 or Contracts shall be assumed as of (i) such date to which the Debtors and the Assumption

 Counterparty to such Contract have agreed or (ii) as otherwise ordered by the Court; provided,

 however, that no Contract shall be deemed assumed or assumed and assigned absent entry of an

 applicable Assumption Order.


                            [Remainder of page intentionally left blank]




                                                 5
Case 23-19865-JKS          Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24             Desc Main
                                   Document    Page 6 of 29



Dated: February 27, 2024

/s/ Michael D. Sirota
COLE SCHOTZ P.C.                            KIRKLAND & ELLIS LLP
Michael D. Sirota, Esq.                     KIRKLAND & ELLIS INTERNATIONAL LLP
Warren A. Usatine, Esq.                     Edward O. Sassower, P.C.
Felice R. Yudkin, Esq.                      Joshua A. Sussberg, P.C (admitted pro hac vice)
Ryan T. Jareck, Esq.                        Steven N. Serajeddini, P.C. (admitted pro hac vice)
Court Plaza North, 25 Main Street           Ciara Foster (admitted pro hac vice)
Hackensack, New Jersey 07601                601 Lexington Avenue
Telephone:      (201) 489-3000              New York, New York 10022
Email:          msirota@coleschotz.com      Telephone:      (212) 446-4800
                wusatine@coleschotz.com     Facsimile:      (212) 446-4900
                fyudkin@coleschotz.com      Email:          edward.sassower@kirkland.com
                rjareck@coleschotz.com                      joshua.sussberg@kirkland.com
                                                            steven.serajeddini@kirkland.com
                                                            ciara.foster@kirkland.com

Co-Counsel for Debtors and                  Co-Counsel for Debtors and
Debtors in Possession                       Debtors in Possession
Case 23-19865-JKS   Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24   Desc Main
                            Document    Page 7 of 29



                                   Schedule 1

                                Procedures Order
Case 23-19865-JKS             Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                           Desc Main
                                      Document    Page 8 of 29



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP
     Edward O. Sassower, P.C.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Steven N. Serajeddini, P.C. (admitted pro hac vice)
     Ciara Foster (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     Telephone:      (212) 446-4800
     Facsimile:      (212) 446-4900
     edward.sassower@kirkland.com
     joshua.sussberg@kirkland.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com


     COLE SCHOTZ P.C.
     Michael D. Sirota, Esq.
     Warren A. Usatine, Esq.
     Felice R. Yudkin, Esq.
     Ryan T. Jareck, Esq.
     Court Plaza North, 25 Main Street
     Hackensack, New Jersey 07601
     Telephone:      (201) 489-3000
     msirota@coleschotz.com
     wusatine@coleschotz.com
     fyudkin@coleschotz.com
     rjareck@coleschotz.com

     Proposed Co-Counsel for Debtors and
     Debtors in Possession

     In re:                                                           Chapter 11

     WEWORK INC., et al.,                                             Case No. 23-19865 (JKS)
                      1
              Debtors.                                                (Jointly Administered)




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
       place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
       chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR
       97005.
Case 23-19865-JKS     Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24               Desc Main
                              Document    Page 9 of 29



              ORDER (I) AUTHORIZING AND APPROVING
           PROCEDURES TO REJECT OR ASSUME EXECUTORY
  CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

       The relief set forth on the following pages, numbered three (3) through thirteen (13), is

 ORDERED.
Case 23-19865-JKS           Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                           Desc Main
                                   Document     Page 10 of 29
 (Page | 3)
 Debtors:                  WeWork Inc., et al.
 Case No.                  23-19865 (JKS)
 Caption of Order:         Order (I) Authorizing and Approving Procedures to Reject Or Assume
                           Executory Contracts and Unexpired Leases and (II) Granting Related Relief

         Upon the Debtors’ Motion for Entry of an Order (I) Authorizing and Approving

 Procedures to Reject or Assume Executory Contracts and Unexpired Leases, and (II) Granting

 Related Relief (the “Motion”)2 of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing and approving the

 Contract Procedures for rejecting or assuming executory contracts and unexpired leases (each,

 a “Contract” and, collectively, the “Contracts”), and (b) granting related relief, all as more fully

 set forth in the Motion; and upon the First Day Declaration; and the Court having jurisdiction to

 consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

 the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, entered July 23, 1984, and amended on September

 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding and the

 Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

 found that the Debtors’ notice of the Motion was appropriate under the circumstances and no other

 notice need be provided; and this Court having reviewed the Motion and having heard the

 statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

 and this Court having determined that the legal and factual bases set forth in the Motion establish

 just cause for the relief granted herein; and upon all of the proceedings had before the Court and

 after   due    deliberation     and    sufficient    cause     appearing      therefor    IT    IS    HEREBY

 ORDERED THAT:

         1.       The Motion is GRANTED as set forth herein.


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
     First Day Declaration.
Case 23-19865-JKS       Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                    Desc Main
                               Document     Page 11 of 29
 (Page | 4)
 Debtors:               WeWork Inc., et al.
 Case No.               23-19865 (JKS)
 Caption of Order:      Order (I) Authorizing and Approving Procedures to Reject Or Assume
                        Executory Contracts and Unexpired Leases, and (II) Granting Related
                        Relief

        2.      The following Rejection Procedures are approved in connection with

 rejecting Contracts:

                a.      Rejection Notice. The Debtors shall, upon not less than two (2) days’ notice
                        to (i) counsel for the Official Committee of Unsecured Creditors
                        (the “Committee”); (ii) Davis Polk & Wardwell LLP and Greenberg
                        Traurig, LLP, as counsel to the Ad Hoc Group, (iii) Weil, Gotshal &
                        Manges LLP and Wollmuth Maher & Deutsch LLP, as counsel to SoftBank;
                        and (iv) Cooley LLP, as counsel to Cupar Grimmond, LLC, file a notice
                        substantially in the form attached hereto as Exhibit 1 (the “Rejection
                        Notice”) indicating the Debtors’ intent to reject a Contract or Contracts
                        pursuant to section 365 of the Bankruptcy Code, which Rejection Notice
                        shall set forth, among other things: (i) the Contract or Contracts to be
                        rejected; (ii) the Debtor or Debtors to such Contract; (iii) the names and
                        addresses of the counterparties to such Contract(s) (each a “Rejection
                        Counterparty” and, collectively, the “Rejection Counterparties”); (iv) the
                        proposed effective date of rejection for each such Contract(s), which, in the
                        case of real property leases, shall be the later of (a) the “Scheduled Rejection
                        Date” set forth in the applicable Rejection Notice and (b) the date the
                        Debtors relinquish control of the premises by notifying the affected landlord
                        and such landlord’s counsel (if known to Debtors’ counsel) in writing (email
                        being sufficient) of the Debtors’ surrender of the premises as of the date of
                        such writing and, as applicable, (1) turning over keys issued by the landlord,
                        key codes, and/or security codes, if any, to the affected landlord or
                        (2) notifying such affected landlord and such landlord’s counsel (if known
                        to Debtors’ counsel) in writing (email being sufficient) that the property has
                        been surrendered, all WeWork-issued key cards have been disabled and,
                        unless otherwise agreed as between the Debtors and the landlord, each
                        affected landlord is authorized to disable all WeWork-issued key cards
                        (including those of any members using the leased location) and the landlord
                        may rekey the leased premises (each, a “Rejection Date”); (v) if any such
                        Contract is a real property lease, the address of the leased location affected
                        by the Rejection Notice and the personal property to be abandoned by
                        Debtors (the “Abandoned Property”), if any, and a reasonable description
                        of abandoned property; (vi) with respect to real property, any known third
                        party having a secured interest in any remaining property, including
                        personal property, furniture, fixtures, and equipment, located at the leased
                        premises; and (vii) the deadlines and procedures for filing objections to the
                        Rejection Notice (as set forth below). The Rejection Notice may list
                        multiple Contracts; provided that the number of counterparties to Contracts
                        listed on each Rejection Notice shall be limited to no more than 100, and
Case 23-19865-JKS    Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                            Document     Page 12 of 29
 (Page | 5)
 Debtors:            WeWork Inc., et al.
 Case No.            23-19865 (JKS)
 Caption of Order:   Order (I) Authorizing and Approving Procedures to Reject Or Assume
                     Executory Contracts and Unexpired Leases, and (II) Granting Related
                     Relief

                     the Rejection Counterparties shall be listed in alphabetical order. Further,
                     the Rejection Notice shall include the proposed form of Order
                     (the “Rejection Order”) approving the rejection of the Contracts, which
                     shall be substantially in the form of Schedule 3 to the Rejection Notice. No
                     Contract shall be deemed rejected absent entry of an applicable
                     Rejection Order.

               b.    Service of the Rejection Notice. No later than two (2) business days after
                     filing a Rejection Notice, the Debtors will cause such Rejection Notice to
                     be served, regardless of the manner and means required for delivery of
                     notices stated in the affected Contract(s): (i) by overnight service and
                     electronic mail upon the Rejection Counterparties affected by the Rejection
                     Notice at the notice address provided in the applicable Contract (and upon
                     such Rejection Counterparty’s counsel, if known, with email service upon
                     such counsel being sufficient) and all known parties who may have any
                     interest in any applicable Abandoned Property; and (ii) by first class mail,
                     email, or fax, upon (A) the office of the United States Trustee for the
                     District of New Jersey, Attn: Fran Steele (Fran.B.Steele@usdoj.gov), Peter
                     D’Auria        (Peter.DAuria@usdoj.gov),        and      Rachel        Wolf
                     (Rachel.Wolf@usdoj.gov); (B) Paul Hastings LLP, Attn: Frank Merola
                     (frankmerola@paulhastings.com)             and         Gabe          Sasson
                     (gabesasson@paulhastings.com) and Riker Danzig LLP, Attn: Joseph
                     Schwartz        (jschwartz@riker.com)        and      Tara       Schellhorn
                     (tschellhorn@riker.com) as counsel for the Committee; (C) the agents
                     under the Debtors’ prepetition secured facilities and counsel thereto;
                     (D) Davis Polk & Wardwell LLP (Attn:              Eli J. Vonnegut, Esq.
                     (eli.vonnegut@davispolk.com),          Natasha         Tsiouris,       Esq.
                     (natasha.tsiouris@davispolk.com) and Jonah A. Peppiatt, Esq.
                     (jonah.peppiatt@davispolk.com)) and Greenberg Traurig, LLP (Attn: Alan
                     J. Brody, Esq. (BrodyA@gtlaw.com)), as counsel to the Ad Hoc Group;
                     (E) Weil, Gotshal & Manges LLP, Attn: Gabriel A. Morgan
                     (gabriel.morgan@weil.com), Kevin H. Bostel (Kevin.Bostel@weil.com),
                     and Eric L. Einhorn (Eric.Einhorn@weil.com) and Wollmuth Maher &
                     Deutsch LLP, Attn: Paul R. DeFilippo (pdefilippo@wmd-law.com), Steven
                     S. Fitzgerald (sfitzgerald@wmd-law.com), and Joseph F. Pacelli
                     (jpacelli@wmd law.com), as counsel to SoftBank; (F) Cooley LLP, Attn:
                     Michael Klein (mklein@cooley.com) and Lauren A. Reichardt
                     (lreichardt@cooley.com), as counsel to Cupar Grimmond, LLC; (G) the
                     United States Attorney’s Office for the District of New Jersey; (H) the
                     Internal Revenue Service; (I) the U.S. Securities and Exchange
                     Commission; (J) the office of the attorney general for each of the states in
                     which the Debtors operate; and (K) any party that has requested notice
Case 23-19865-JKS          Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                          Desc Main
                                  Document     Page 13 of 29
 (Page | 6)
 Debtors:                 WeWork Inc., et al.
 Case No.                 23-19865 (JKS)
 Caption of Order:        Order (I) Authorizing and Approving Procedures to Reject Or Assume
                          Executory Contracts and Unexpired Leases, and (II) Granting Related
                          Relief

                          pursuant to Bankruptcy Rule 2002 (collectively, the “Master Notice
                          Parties”).

                  c.      Objection Procedures. Parties objecting to a proposed rejection must file
                          and serve a written objection1 so that such objection is filed with the Court
                          on the docket of the Debtors’ chapter 11 cases and served on the following
                          Objection Service Parties so that such objection is actually received no later
                          than ten (10) days after the date the relevant Rejection Notice is filed and
                          sent by overnight service and/or electronic mail:

                          (i) the Debtors, WeWork Inc. c/o Epiq Restructuring, LLC 10300 SW Allen
                          Blvd. Beaverton, Oregon 97005 (weworknotices@wework.com);
                          (ii) proposed co-counsel to the Debtors, (A) Kirkland & Ellis LLP,
                          601 Lexington Avenue, New York, New York 10022, Attn.: Steven
                          Serajeddini, P.C. (steven.serajeddini@kirkland.com), Ciara Foster
                          (ciara.foster@kirkland.com), Oliver Paré (oliver.pare@kirkland.com), and
                          Jimmy Ryan (jimmy.ryan@kirkland.com), and Kirkland & Ellis LLP, 300
                          North LaSalle Street, Chicago, Illinois 60654, Attn: Connor Casas
                          (connor.casas@kirkland.com), and (B) Cole Schotz P.C., Court Plaza
                          North, 25 Main Street, Hackensack, New Jersey 07601, Attn.: Michael D.
                          Sirota, Esq. (msirota@coleschotz.com), Warren A. Usatine, Esq.
                          (wusatine@coleschotz.com),         Felice      R.      Yudkin,       Esq.
                          (fyudkin@coleschotz.com),       and       Ryan     T.    Jareck,     Esq.
                          (rjareck@coleschotz.com); (iii) Office of The United States Trustee, One
                          Newark Center, 1085 Raymond Boulevard, Suite 2100, Newark, New
                          Jersey 07102, Attn: Fran Steele (Fran.B.Steele@usdoj.gov), Peter D’Auria
                          (Peter.DAuria@usdoj.gov), and Rachel Wolf (Rachel.Wolf@usdoj.gov);
                          (iv) counsel to the Committee, (A) Paul Hastings LLP, 200 Park Avenue,
                          New York, NY 10166, Attn: Gabe Sasson (gabesasson@paulhastings.com)
                          and Frank Merola (frankmerola@paulhastings.com) and (B) Riker Danzig
                          LLP, 1 Speedwell Ave, Headquarters Plaza, Morristown, NJ 07962, Attn:
                          Joseph Schwartz (jschwartz@riker.com) and Tara Schellhorn
                          (tschellhorn@riker.com); (v) counsel to the Ad Hoc Group, (A) Davis Polk
                          & Wardwell LLP, 450 Lexington Avenue, New York, New York 10017,
                          Attn: Eli J. Vonnegut, Esq. (eli.vonnegut@davispolk.com), Natasha
                          Tsiouris, Esq. (natasha.tsiouris@davispolk.com) and Jonah A. Peppiatt,
                          Esq. (jonah.peppiatt@davispolk.com), and (B) Greenberg Traurig, LLP,
                          500 Campus Drive, Florham Park, New Jersey 10017, Attn: Alan J. Brody,
                          Esq. (BrodyA@gtlaw.com); (vi) counsel to SoftBank, (A) Weil, Gotshal &

 1   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
     objection to the rejection of any other Contract listed on such Rejection Notice.
Case 23-19865-JKS    Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                    Desc Main
                            Document     Page 14 of 29
 (Page | 7)
 Debtors:            WeWork Inc., et al.
 Case No.            23-19865 (JKS)
 Caption of Order:   Order (I) Authorizing and Approving Procedures to Reject Or Assume
                     Executory Contracts and Unexpired Leases, and (II) Granting Related
                     Relief

                     Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn.:
                     Gabriel A. Morgan (gabriel.morgan@weil.com), Kevin H. Bostel
                     (Kevin.Bostel@weil.com), and Eric L. Einhorn (Eric.Einhorn@weil.com)
                     and (B) Wollmuth Maher & Deutsch LLP, 500 Fifth Avenue, New York,
                     New York 10110, Attn: Paul R. DeFilippo (pdefilippo@wmd-law.com),
                     Steven S. Fitzgerald (sfitzgerald@wmd-law.com), and Joseph F. Pacelli
                     (jpacelli@wmd-law.com); and (vii) counsel to Cupar Grimmond, LLC,
                     Cooley LLP, 355 S. Cooley LLP, 55 Hudson Yards, New York, NY 10001,
                     Attn: Michael Klein (mklein@cooley.com) and Lauren A. Reichardt
                     (lreichardt@cooley.com).

               d.    No Objection Timely Filed. If no objection to the rejection of any Contract
                     is timely filed, the Debtors shall file a Rejection Order under a certificate of
                     no objection substantially similar to the Rejection Order attached to the
                     Rejection Notice. Each Contract listed in the applicable Rejection Notice
                     shall be rejected as of the applicable Rejection Date or such other date as
                     the Debtors and the applicable Rejection Counterparty agree; provided that
                     the Rejection Date for a lease of non-residential real property rejected
                     pursuant to these Rejection Procedures shall not occur earlier than the date
                     the Debtors filed and served the applicable Rejection Notice.

               e.    Unresolved Timely Objections. If an objection to a Rejection Notice is
                     timely filed and properly served as specified above and not withdrawn or
                     resolved, the Debtors shall schedule a hearing on such objection and shall
                     provide at least seven (7) days’ notice of such hearing to the applicable
                     Rejection Counterparty (and its counsel if known to Debtors’ counsel) and
                     the other Objection Service Parties. Such Contract will only be deemed
                     rejected upon entry by the Court of a consensual form of Rejection Order
                     resolving the objection as between the objecting party and the Debtors, or
                     if resolution is not reached and/or if such objection is overruled or
                     withdrawn, such Contract(s) shall be deemed rejected as of (i) such date to
                     which the Debtors and the applicable Rejection Counterparty agree or (ii) as
                     otherwise ordered by the Court.

               f.    Consent Orders. Any objection may be resolved without a hearing by the
                     filing of a notice of such resolution signed by counsel to the Debtors,
                     counsel to the objecting party, and counsel to the Rejection Counterparty.

               g.    Removal from Schedule. The Debtors reserve the right to remove any
                     Contract from the schedule to a Rejection Notice at any time prior to (i) the
                     applicable date of surrender, with respect to a real property lease, or (ii) the
                     date the Debtors have notified the affected landlord and its counsel (if
                     known to Debtors’ counsel) that the Debtors have relinquished control of
Case 23-19865-JKS    Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                            Document     Page 15 of 29
 (Page | 8)
 Debtors:            WeWork Inc., et al.
 Case No.            23-19865 (JKS)
 Caption of Order:   Order (I) Authorizing and Approving Procedures to Reject Or Assume
                     Executory Contracts and Unexpired Leases, and (II) Granting Related
                     Relief

                     the leased premises, and in all cases, shall provide any affected Rejection
                     Counterparty (and its counsel if known to Debtors’ counsel) and Objection
                     Service Parties notice of removal of any Contract from the Rejection Notice
                     as soon as reasonably practicable after such removal (without prejudice to
                     the affected Rejection Counterparty’s right to object to the removal of the
                     Contract from the Rejection Notice). Nothing herein shall prevent the
                     Debtors from removing a Contract from the schedule to a Rejection Notice
                     with the written consent of the affected Rejection Counterparty.

               h.    No Application of Security Deposits. To the extent applicable, if the
                     Debtors have deposited monies with a Rejection Counterparty as a security
                     deposit or other arrangement (other than letters of credit, surety bonds, or
                     deposit not part of the Debtors’ estate), such Rejection Counterparty may
                     not set off, recoup, draw on, apply, or otherwise use such security deposit
                     or other arrangement (other than letters of credit, surety bonds, or deposit
                     not part of the Debtors’ estate) without the prior approval of the Court,
                     unless the Debtors and the applicable Rejection Counterparty otherwise
                     agree. For the avoidance of doubt, nothing in this Order shall affect,
                     modify, limit, or expand upon the rights of any party with respect to letters
                     of credit or surety bonds securing an obligation under a lease.

               i.    Abandoned Property. The Debtors are authorized, but not directed, at any
                     time on or before the applicable Rejection Date, to remove or abandon any
                     of the Debtors’ personal property that may be located on the Debtors’ leased
                     premises that are subject to a rejected Contract in accordance with
                     applicable law; provided, however, that (i) nothing shall modify any
                     requirement under applicable law with respect to the removal of any
                     hazardous materials as defined under the applicable law from any of the
                     Debtors’ leased premises, and (ii) to the extent the Debtors seek to abandon
                     personal property known to contain “personally identifiable information,”
                     as that term is defined in section 101(41A) of the Bankruptcy Code
                     (the “PII”), the Debtors shall use commercially reasonable efforts to remove
                     the PII from such personal property before abandonment. The applicable
                     landlord may return any remaining PII to the Debtors at WeWork Inc. c/o
                     Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR
                     97005. As long as the Debtors are in full compliance with applicable law
                     (and in compliance with generally applicable building rules applicable to
                     the removal of furniture, fixtures, and equipment as required under the
                     applicable lease), the Rejection Counterparty may not interfere with
                     Debtors’ removal of any of the Debtors’ personal property prior to the
                     Rejection Date. The Debtors shall generally describe the property in the
                     Rejection Notice and their intent to abandon such property. Absent a timely
                     objection, any and all of Debtors’ personal property located on the Debtors’
Case 23-19865-JKS      Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                   Desc Main
                              Document     Page 16 of 29
 (Page | 9)
 Debtors:             WeWork Inc., et al.
 Case No.             23-19865 (JKS)
 Caption of Order:    Order (I) Authorizing and Approving Procedures to Reject Or Assume
                      Executory Contracts and Unexpired Leases, and (II) Granting Related
                      Relief

                      leased premises on the Rejection Date of the applicable lease of
                      nonresidential real property (other than any property in which the Debtors
                      have no property interest) shall be deemed abandoned pursuant to section
                      554 of the Bankruptcy Code, as is, effective as of the Rejection Date.
                      Landlords may, in their sole discretion and without further notice or order
                      of this Court, utilize and/or dispose of such property without liability to the
                      Debtors or third parties, and, to the extent applicable, the automatic stay is
                      modified to allow such disposition. Notwithstanding anything herein to the
                      contrary, no license or other right to use any intellectual property of the
                      Debtors, including any right to reproduce, modify, or create derivatives,
                      shall be conferred to any landlord as a result of such abandonment, and
                      landlords shall have no right to the continued use of such intellectual
                      property at the premises subject to the rejected lease.

               j.     Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
                      must be filed on or before the later of (i) the deadline for filing proofs of
                      claim established in these chapter 11 cases, if any, and (ii) thirty (30) days
                      after the later of (A) the Rejection Date, and (B) the date of entry of an order
                      rejecting the Contract. If no proof of claim is timely filed, such claimant
                      shall be forever barred from asserting a claim for damages arising from the
                      rejection and from participating in any distributions on account of such
                      claim that may be made in connection with these chapter 11 cases.

        3.     The following Assumption Procedures are approved in connection with assuming

 and assuming and assigning Contracts:

               a.     Assumption Notice. The Debtors shall, upon not less than two (2) days’
                      notice to (i) counsel for the Committee; (ii) Davis Polk & Wardwell LLP
                      and Greenberg Traurig, LLP, as counsel to the Ad Hoc Group, (iii) Weil,
                      Gotshal & Manges LLP and Wollmuth Maher & Deutsch LLP, as counsel
                      to SoftBank; and (iv) Cooley LLP, as counsel to Cupar Grimmond, LLC,
                      file a notice substantially in the form attached hereto as Exhibit 2
                      (the “Assumption Notice”) indicating the Debtors’ intent to assume a
                      Contract or Contracts pursuant to section 365 of the Bankruptcy Code,
                      which shall set forth, among other things: (i) the Contract or Contracts to
                      be assumed; (ii) the names and addresses of the counterparties to such
                      Contracts (each, an “Assumption Counterparty”); (iii) with respect to real
                      property leases, the addresses of the affected locations; (iv) the Debtor or
                      Debtors to such Contract; (v) the identity of any proposed assignee of such
                      Contracts (the “Assignee”), if applicable; (vi) the effective date of the
                      assumption for each such Contract (the “Assumption Date”); (vii) the
                      proposed cure amount, if any for each such Contract; (viii) a summary
Case 23-19865-JKS           Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                            Desc Main
                                   Document     Page 17 of 29
 (Page | 10)
 Debtors:                  WeWork Inc., et al.
 Case No.                  23-19865 (JKS)
 Caption of Order:         Order (I) Authorizing and Approving Procedures to Reject Or Assume
                           Executory Contracts and Unexpired Leases, and (II) Granting Related
                           Relief

                           description of any material amendments to the Contract made outside of the
                           ordinary course of business, by mutual agreement of the parties to such
                           Contract; and (ix) the deadlines and procedures for filing objections to the
                           Assumption Notice (as set forth below). The Assumption Notice may list
                           multiple Contracts provided that the number of counterparties to Contracts
                           listed on each Assumption Notice shall be limited to no more than 100.
                           Further, the Assumption Notice shall include the proposed form of order
                           (the “Assumption Order”) approving the assumption of the Contracts,
                           which shall be substantially in the form of Schedule 3 to the Assumption
                           Notice. No Contract shall be deemed assumed or assumed and assigned
                           absent entry of an applicable Assumption Order. The substance of any
                           Assumption Notice shall be subject to the prior reasonable consent of the
                           Required Consenting Stakeholders (as defined in the RSA).

                  b.       Service of the Assumption Notice and Evidence of Adequate Assurance.
                           No later than two (2) business days after filing an Assumption Notice, the
                           Debtors will cause such Assumption Notice to be served, regardless of the
                           manner and means required for delivery of notices stated in the affected
                           Contract(s) (i) by overnight service and electronic mail upon the
                           Assumption Counterparties affected by the Assumption Notice and each
                           Assignee, if applicable, at the address set forth in the notice provision of the
                           applicable Contract (and upon the Assumption Counterparties’ counsel, if
                           known, with email service upon such counsel being sufficient) and (ii) by
                           first class mail, email, or fax upon the Master Notice Parties. To the extent
                           the Debtors seek to assume or assume and assign a Contract, the Debtors
                           will cause evidence of adequate assurance of future performance to be
                           served with the Assumption Notice upon the Assumption Counterparties
                           affected by the Assumption Notice (and their counsel, if known) by
                           electronic mail.

                  c.       Objection Procedures. Parties objecting to a proposed assumption or
                           assumption and assignment (including as to the cure amount), as applicable,
                           of a Contract, or entry of the Assumption Order, must file and serve a
                           written objection2 so that such objection is filed with the Court and actually
                           received by the Objection Service Parties no later than ten (10) days after
                           the date the relevant Assumption Notice is filed and sent by overnight
                           service and/or electronic mail and promptly serve such objection on the
                           Objection Service Parties; provided that evidence of adequate assurance of



 2   An objection to the assumption of any particular Contract listed on an Assumption Notice shall not constitute an
     objection to the assumption of any other Contract listed on such Assumption Notice.
Case 23-19865-JKS       Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                Desc Main
                               Document     Page 18 of 29
 (Page | 11)
 Debtors:              WeWork Inc., et al.
 Case No.              23-19865 (JKS)
 Caption of Order:     Order (I) Authorizing and Approving Procedures to Reject Or Assume
                       Executory Contracts and Unexpired Leases, and (II) Granting Related
                       Relief

                       future performance has been timely served in accordance with these
                       procedures.

                d.     No Objection. If no objection to the assumption of any Contract is timely
                       filed, the Debtors shall file an Assumption Order under a certificate of no
                       objection substantially similar to the Assumption Order attached to the
                       Assumption Notice. Each Contract shall be assumed as of the Assumption
                       Date set forth in the applicable Assumption Notice or such other date as the
                       Debtors and the applicable Assumption Counterparties agree, and the
                       proposed cure amount shall be binding on all counterparties to such
                       Contract and no amount in excess thereof shall be paid for cure purposes;
                       provided, however, that the Assumption Date for a lease of nonresidential
                       real property shall not occur earlier than the date the Debtors filed and
                       served the applicable Assumption Notice.

                e.     Unresolved Timely Objections. If an objection to an Assumption Notice is
                       timely filed and properly served as specified above and not withdrawn or
                       resolved, the Debtors shall schedule a hearing on such objection and shall
                       provide at least seven (7) days’ notice of such hearing to the applicable
                       Assumption Counterparty and the other Objection Service Parties. Such
                       Contract will only be assumed upon entry by the Court of a consensual form
                       of Assumption Order resolving the objection as between the objecting party
                       and the Debtors or if resolution is not reached and/or the objection is
                       overruled or withdrawn, such Contract shall be assumed as of (i) such date
                       to which the Debtors and the Assumption Counterparty to such Contract
                       have agreed or (ii) as otherwise ordered by the Court.

                f.     Consent Orders. Any objection may be resolved without a hearing by the
                       filing of a notice of such resolution signed by counsel to the Debtors,
                       counsel to the objecting party, and counsel to the Assumption Counterparty.

                g.     Removal from Schedule. The Debtors reserve the right to remove any
                       Contract from the schedule to an Assumption Notice at any time prior to the
                       Assumption Date (including, without limitation, upon the failure of any
                       proposed assumption and assignment to close).

        4.      The Debtors’ right to assert that any provisions in the Contract that expressly or

 effectively restrict, prohibit, condition, or limit the assignment of or the effectiveness of such

 Contract to an Assignee are unenforceable anti-assignment or ipso facto clauses is fully reserved,

 subject to the applicable Assumption Counterparty’s right to contest the same.
Case 23-19865-JKS        Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                                Document     Page 19 of 29
 (Page | 12)
 Debtors:               WeWork Inc., et al.
 Case No.               23-19865 (JKS)
 Caption of Order:      Order (I) Authorizing and Approving Procedures to Reject Or Assume
                        Executory Contracts and Unexpired Leases, and (II) Granting Related
                        Relief

        5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

 Code, to enter into the consensual amendments to the Contracts to the extent such amendments are

 set forth in an Assumption Notice in accordance with this Order.

        6.      Approval of the Contract Procedures and this Order will not prevent the Debtors

 from seeking to reject or assume a Contract by separate motion.

        7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

 such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

 particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular

 claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

 or admission that any particular claim is of a type specified or defined in this Order or the Motion;

 (e) a request or authorization to assume any agreement, contract, or lease pursuant to section 365

 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any other party in interest’s,

 rights under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors

 that any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to

 the Motion are valid, and the rights of all parties are expressly reserved to contest the extent,

 validity, or perfection or seek avoidance of all such liens. Any payment made pursuant to this

 Order is not intended and should not be construed as an admission as the validity of any particular

 claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

        8.      All rights and defenses of the Debtors and Assumption or Rejection Counterparties

 are preserved, including all rights and defenses of the Debtors and Assumption or Rejection

 Counterparties with respect to a claim for damages arising as a result of a Contract rejection,
Case 23-19865-JKS       Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                               Document     Page 20 of 29
 (Page | 13)
 Debtors:               WeWork Inc., et al.
 Case No.               23-19865 (JKS)
 Caption of Order:      Order (I) Authorizing and Approving Procedures to Reject Or Assume
                        Executory Contracts and Unexpired Leases, and (II) Granting Related
                        Relief

 including any right to assert an offset, recoupment, counterclaim, or deduction. In addition,

 nothing in this Order or the Motion shall limit the Debtors’ or an Assumption or Rejection

 Counterparty’s ability to subsequently assert that any particular Contract is expired or terminated

 and is no longer an executory contract or unexpired lease, respectively.

        9.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion, the Rejection Notices, and the

 Assumption Notices.

        10.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Order shall

 be effective and enforceable immediately upon entry hereof.

        11.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

 by such notice.

        12.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
                       Case 23-19865-JKS             Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                           Desc Main
                                                            Document     Page 21 of 29



                                                                          Schedule 2

                                                                    Assumed Contracts 1

 Contract                                     Address of the
   to be         Assumption    Counterparty        Leased                              Debtor      Amendments to                     Cure       Assumption
 Assumed        Counterparty     Address          Location                          Legal Entity      Contract                     Amount          Date
Unexpired       OBS REIT,    One MetLife Way, One      Beacon                       1     Beacon Reduce premises,               $470,449.25     February 17,
Lease           LLC          Whippany,     NJ Street, Boston,                       Street Tenant reduce       rent,            due at a future 2024
                             07981            MA 02108                              LLC           amend     security            date
                                                                                                  reduction
                                                                                                  schedule
Unexpired       408 Bway            73 Spring Street, 408 Broadway,                 408           Revise expiration             $0                  February 16,
Lease           Realty LLC          6th Floor, New New York, NY                     Broadway      date,     revenue                                 2024
                                    York, NY 10012    10013                         Tenant LLC share, landlord to
                                                                                                  pay      operating
                                                                                                  expenses, limited
                                                                                                  guaranty
Unexpired       Abner               40 East 69th Street, 154 West 14th              154 W 14th Reduce premises,                 $650,673.66     February 22,
Lease           Properties          New York, NY Street,           New              Street Tenant reduce       rent,            due at a future 2024
                Company             10021                York, NY 10011             LLC           reduce letter of              date
                                                                                                  credit, terminate
                                                                                                  guaranty




1
    The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
    validity of any claims held by the counterparty or counterparties to such Contract.
Case 23-19865-JKS   Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24   Desc Main
                           Document     Page 22 of 29



                                   Schedule 3

                            Proposed Assumption Order
Case 23-19865-JKS             Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                           Desc Main
                                     Document     Page 23 of 29



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP
     Edward O. Sassower, P.C.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Steven N. Serajeddini, P.C. (admitted pro hac vice)
     Ciara Foster (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     Telephone:      (212) 446-4800
     Facsimile:      (212) 446-4900
     edward.sassower@kirkland.com
     joshua.sussberg@kirkland.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com


     COLE SCHOTZ P.C.
     Michael D. Sirota, Esq.
     Warren A. Usatine, Esq.
     Felice R. Yudkin, Esq.
     Ryan T. Jareck, Esq.
     Court Plaza North, 25 Main Street
     Hackensack, New Jersey 07601
     Telephone:      (201) 489-3000
     msirota@coleschotz.com
     wusatine@coleschotz.com
     fyudkin@coleschotz.com
     rjareck@coleschotz.com

     Co-Counsel for Debtors and
     Debtors in Possession

     In re:                                                           Chapter 11

     WEWORK INC., et al.,                                             Case No. 23-19865 (JKS)

              Debtors. 1                                              (Jointly Administered)



 1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
       place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
       chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR
       97005.
Case 23-19865-JKS    Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24          Desc Main
                            Document     Page 24 of 29



                 SIXTH ORDER APPROVING THE ASSUMPTION
               OR ASSUMPTION AND ASSIGNMENT OF CERTAIN
             EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

       The relief set forth on the following pages, numbered three (3) through six (6), is

 ORDERED.
Case 23-19865-JKS           Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                           Desc Main
                                   Document     Page 25 of 29
 (Page | 3)
 Debtors:                  WeWork Inc., et al.
 Case No.                  23-19865 (JKS)
 Caption of Order:         Sixth Order Approving the Assumption or Assumption and Assignment of
                           Certain Executory Contracts And/or Unexpired Leases

         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”) 1

 [Docket No. 289] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served an Assumption Notice on each

 applicable party as set forth in the Assumption Schedule, attached hereto as Exhibit 1, in

 accordance with the terms of the Procedures Order; and no timely objections having been filed to

 the assumption or assumption and assignment of such Contracts; and due and proper notice of the

 Procedures Order and the Assumption Notice having been provided to each applicable Assumption

 Counterparty as set forth in the Assumption Schedule and no other notice need be provided; and

 after due deliberation and sufficient cause appearing therefor, IT IS HEREBY ORDERED

 THAT:

         1.       The Debtors are authorized to assume or assume and assign the Contracts listed on

 Exhibit 1. The Contracts, as amended with the prior consent and written agreement of the

 applicable Assumption Counterparty, if applicable, are hereby deemed to be assumed or assumed

 and assigned by the Debtors pursuant to section 365(a) of the Bankruptcy Code effective as of the




 1
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.
Case 23-19865-JKS           Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                              Desc Main
                                   Document     Page 26 of 29
 (Page | 4)
 Debtors:                  WeWork Inc., et al.
 Case No.                  23-19865 (JKS)
 Caption of Order:         Sixth Order Approving the Assumption or Assumption and Assignment of
                           Certain Executory Contracts And/or Unexpired Leases

 Assumption Date set forth on Exhibit 1.

         2.       Pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, the assignment of

 the Contracts listed on Exhibit 1 shall: (a) be free and clear of (i) all liens (and any liens shall

 attach to the proceeds in the same order and priority subject to all existing defenses, claims, setoffs,

 and rights) and (ii) subject to the last sentence of Paragraph 3 below and an Assumption

 Counterparty’s right to contest the same in accordance with the Assumption Procedures, any and

 all claims (as that term is defined in section 101(5) of the Bankruptcy Code), obligations, demands,

 guaranties of or by the Debtors, debts, rights, contractual commitments, restrictions, interests, and

 matters of any kind and nature, whether arising prior to or subsequent to the commencement of

 these chapter 11 cases, and whether imposed by agreement, understanding, law, equity, or

 otherwise (including, without limitation, claims and encumbrances that purport to give to any party

 a right or option to effect any forfeiture, modification, or termination of the interest of any Debtor

 or Assignee, as the case may be, in the Contract(s) in connection with the assignment by the Debtor

 to the Assignee); and (b) constitute a legal, valid, and effective transfer of such Contract(s) and

 vests the applicable Assignee with all rights, titles, and interests to the applicable Contract(s). 2 For

 the avoidance of doubt, all provisions of and obligations under, subject to section 365 of the

 Bankruptcy Code, the applicable assigned Contract, including any provision limiting assignment,

 shall be binding on the applicable Assignee.

         3.       Subject to and conditioned upon the occurrence of a closing with respect to the

 assumption and assignment of any Contract, and subject to the other provisions of this Order


 2
     Certain of the Contracts may contain provisions that restrict, prohibit, condition, or limit the assumption and/or
     assignment of such Contract. The Debtors reserve all rights with respect to the enforceability of such provisions,
     including the right to argue such clauses are unenforceable.
Case 23-19865-JKS        Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                                Document     Page 27 of 29
 (Page | 5)
 Debtors:               WeWork Inc., et al.
 Case No.               23-19865 (JKS)
 Caption of Order:      Sixth Order Approving the Assumption or Assumption and Assignment of
                        Certain Executory Contracts And/or Unexpired Leases

 (including the Assumption Procedures in the Procedures Order and entry of the applicable

 Assumption Order), the Debtors are authorized in accordance with sections 365(b) and (f) of the

 Bankruptcy Code to (a) assume and assign to the Assignees identified on Exhibit 1 the applicable

 Contracts, with any such applicable Assignee being responsible only for the post-assignment

 liabilities or defaults under the applicable Contracts except as otherwise provided for in this Order

 or as agreed between the Debtors and the applicable Assumption Counterparty and (b) execute and

 deliver to any such applicable Assignee such assignment documents as may be reasonably

 necessary to sell, assign, and transfer any such Contract. Notwithstanding anything to the contrary

 in any assignment documents (if applicable) or this Order, pursuant to section 365(d) of the

 Bankruptcy Code, unless otherwise agreed as between the Debtors (or an Assignee, as applicable)

 and the Assumption Counterparty thereto, with respect to any assumed or assumed and assigned

 lease of non-residential real property, the Debtors, in the case of an assumption, and the Assignee,

 in the case of an assumption and assignment, shall, subject to all rights and defenses available to

 the Debtors and/or the Assignee, as applicable, remain liable for, regardless of when such amounts

 or liabilities accrued, unless such amounts are waived or otherwise amended when assumed:

 (i) any amounts owed under the applicable lease that are unbilled or not yet due as of the

 Assumption Date, such as common area maintenance, insurance, taxes, and similar charges;

 (ii) any regular or periodic adjustment or reconciliation of charges under the applicable lease that

 are not due as of the Assumption Date; (iii) any percentage rent that may come due under the

 applicable lease; (iv) indemnification obligations, if any, under the applicable lease; and (v) any

 other monetary or non-monetary obligations under the applicable lease; provided that the

 foregoing shall, subject to all rights and defenses available to the landlord under the assumed or
Case 23-19865-JKS         Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                 Desc Main
                                 Document     Page 28 of 29
 (Page | 6)
 Debtors:                WeWork Inc., et al.
 Case No.                23-19865 (JKS)
 Caption of Order:       Sixth Order Approving the Assumption or Assumption and Assignment of
                         Certain Executory Contracts And/or Unexpired Leases

 assumed and assigned Contract, not affect any potential liabilities owed by such landlord under

 the assumed or assumed and assigned Contract to the Debtors, the Assignee, or any other party, as

 applicable, including, but not limited to: (i) tenant improvement allowances, (ii) abatement, and

 (iii) reduction of a letter of credit or other security deposit.

         4.      Except as expressly set forth herein, the Assignee (if applicable) shall have no

 liability or obligation with respect to defaults relating to the assigned Contracts arising, accruing,

 or relating to a period prior to the applicable closing date.

         5.      The Debtors are hereby authorized, pursuant to section 363(b) of the Bankruptcy

 Code, to enter into the consensual amendments as set forth in the Assumption Notice.

         6.      The Debtors are authorized to execute and deliver all instruments and documents

 and take all additional actions necessary to effectuate the relief granted in this Order and the

 assumption without further order from this Court.

         7.      The fourteen-day stay required of any assignment of any Contract pursuant to

 Bankruptcy Rule 6006(d) is hereby waived.

         8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
                     Case 23-19865-JKS             Doc 1431 Filed 02/27/24 Entered 02/27/24 13:00:24                            Desc Main
                                                          Document     Page 29 of 29



                                                                             Exhibit 1

                                                                      Assumption Schedule 1

Contract to                                      Address of the     Debtor
    be       Assumption   Counterparty               Leased         Legal      Amendments to                                                    Assumption
 Assumed    Counterparty     Address                Location        Entity         Contract                                     Cure Amount        Date
Unexpired   OBS    REIT, One     MetLife         One     Beacon 1     Beacon Reduce premises,                                 $470,449.25 due February 17,
Lease       LLC          Way, Whippany,          Street, Boston, Street      reduce rent, amend                               at a future date 2024
                         NJ 07981                MA 02108        Tenant LLC security reduction
                                                                             schedule
Unexpired       408       Bway 73 Spring Street, 408 Broadway, 408           Revise expiration                                $0                       February 16,
Lease           Realty LLC     6th Floor, New New York, NY Broadway          date, revenue share,                                                      2024
                               York, NY 10012 10013              Tenant LLC landlord to pay
                                                                             operating expenses,
                                                                             limited guaranty
Unexpired       Abner          40 East 69th 154 West 14th 154 W 14th Reduce premises,                                         $650,673.66 due February 22,
Lease           Properties     Street,    New Street,      New Street        reduce rent, reduce                              at a future date 2024
                Company        York, NY 10021 York,         NY Tenant LLC letter of credit,
                                                 10011                       terminate guaranty




  1
      The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the Contract, or as to the existence or
      validity of any claims held by the counterparty or counterparties to such Contract.
